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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

ERIC BLACKA                                   §
                                              §       CIVIL ACTION NO. 20-313
vs.                                           §       Jury Demand
                                              §
VALERO SERVICES, INC.                         §

                          PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       NOW COMES Eric Blacka (hereinafter “Plaintiff”), filing this his Plaintiff’s Original

Complaint, complaining of Valero Services, Inc., (hereinafter “Defendant” and/or “Valero”), and

showing in support thereof as follows:

                                           I. PARTIES

1.     Plaintiff is a male citizen of the United States and a Texas resident, residing in Nueces

County, Texas.

2.     Defendant is a foreign for-profit corporation authorized to do business in the State of Texas,

and can be served by way of process via its registered agent, to wit: CT Corporation System at

1999 Bryan St., Suite 900, Dallas, Texas 75201.

                 II. JURISDICTION, VENUE & CONDITIONS PRECEDENT

3.     Defendant, at all relevant times hereto, was an employer as defined by and within the

meaning of the Americans With Disabilities Act of 1990 (hereinafter “ADA”), codified at 42

U.S.C. §12101, 29 U.S.C. §2611, and the Family and Medical Leave Act of 1993 (hereinafter

“FMLA”), 29 U.S.C. §§2601 et seq. Defendant is engaged in interstate commerce while employing

more than fifteen (15) persons.
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4.      Plaintiff brings this action for compensation and other relief for violations under the ADA

and the FMLA, in that Defendant has denied Plaintiff his rights as guaranteed by the Constitution

and laws of the United States of America and/or the State of Texas, thereby invoking the federal

question jurisdiction conferred upon this Court by 28 U.S.C. §1331.

5.      Plaintiff timely filed a Notice of Charge of Discrimination with the United States Equal

Employment Opportunity Commission (hereinafter “EEOC”), charge number 451-2020-02177.

6.      On October 3, 2020, Plaintiff received his Dismissal and Notice of Rights from the EEOC.

7.      Plaintiff has therefore complied with all conditions precedent and exhausted all

administrative remedies prior to filing suit. Plaintiff now timely files this, his Plaintiff’s Original

Complaint, within ninety (90) days of receiving his Dismissal and Notice of Rights.

8.      Venue is proper in the Southern District of Texas pursuant to 28 U.S.C. § 1391 (b) and (c)

because a substantial part of the events or omissions giving rise to the claims herein occurred in

said District.

                                            III. FACTS

9.      Plaintiff worked for Defendant for over six (6) years as a technician/operator. Plaintiff was

hired as a technician trainee and eventually worked his way up to a Technician VI. Plaintiff is also

as individual living with a disability – specifically he is diagnosed with Nocturnal Epilepsy. Valero

is aware of his disability.

10.     Plaintiff suffered multiple injuries during his career with Defendant. For instance, in or

about May 2018, Plaintiff injured his right shoulder and was placed on medical leave pursuant to

the Family and Medical Leave Act (hereinafter “FMLA”) for approximately one month.

11.     Unfortunately, Plaintiff’s problems with his right shoulder persisted and in (or about)

November of 2018, he went out on FMLA leave again in order to have surgery. While out on




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medical leave for that surgery, Plaintiff slipped and fell at home on January 1, 2019, and sustained

several compression fractures to his vertebrae. Plaintiff received a full release to return to work

without restrictions, allowing him to return on or about April 8, 2019.

12.     On or about April 27, 2019, Plaintiff had a seizure at home and re-injured his right shoulder,

dislocating it and causing him to be out of work on FMLA leave again. As a result, on June 26,

2019, Plaintiff was disciplined with a “Final Warning” – even though he had not previously been

disciplined. The final warning was for whiting-out/removing a sentence on a letter to his employer

from his treating physician regarding that injury. Plaintiff removed the sentence because it was

related to protected health information that his employer had not asked for. The removal of that

sentence had no effect on his leave, treatment or his physician’s statements to Defendant – but

Plaintiff was given that final warning nonetheless. Ultimately, Plaintiff was cleared to return to

work without restrictions effective July 19, 2019.

13.     Plaintiff worked without incident until, on or about February 20, 2020, when he had another

seizure – this time at work – resulting in an injury, again to his right shoulder. Plaintiff also injured

his arm and jaw/mouth.

14.     Plaintiff again was placed on FMLA leave, but was fully released to return to work without

restrictions by the following physicians on the following dates:

            •   February 27, 2020, by Dr. Jorge Mendizabal – Neurologist;

            •   April 8, 2020, by Dr. Mance Cutbirth – Maxillofacial Surgeon;

            •   April 13, 2020, by Dr. Jeffery Schlimmer – Orthopedist;

            •   July 19, 2020, by Dr. Jeffery Schlimmer – Orthopedist; and

            •   July 19, 2020, by Dr. John Borkowski – Orthopedist.




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15.     Unfortunately, Valero’s self-chosen third party physician refused to release Plaintiff to

return to work without restriction and Valero, therefore, refused to allow Plaintiff to return to work,

eventually resulting in Plaintiff’s administrative discharge on or about September 14, 2020.

                             IV. COUNT I
       VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990

16.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

17.     By and through his Plaintiff’s Original Complaint, Plaintiff pleads that Defendant

maintains a pattern and practice of discriminating against disabled Americans, such as Plaintiff, in

its employment practices. More specifically, Defendant, through its acts and omissions,

unjustifiably terminated Plaintiff because he suffers from a disability, thereby resulting in the

disparate treatment of Plaintiff.

18.     By and through his Plaintiff’s Original Complaint, Plaintiff pleads that he suffers from an

impairment that substantially limits one or more major life activities.

19.     By and through his Plaintiff’s Original Complaint, Plaintiff pleads that he was hired by

Defendant and, ipso facto, was qualified for his position based upon the requisite skill, experience,

education and other job-related requirements for the position, as shown by the actions of

Defendant.

20.     By and through his Plaintiff’s Original Complaint, Plaintiff pleads that he can perform the

essential functions of his job. Moreover, Plaintiff pleads that Defendant knew that Plaintiff did not

need any accommodations and/or if Plaintiff did require any accommodations it was only because

he was given unnecessary and discriminatory restrictions by Defendant’s third-party physician.

21.     By and through his Plaintiff’s Original Complaint, Plaintiff pleads that his disability was

the sole and/or another improper reason for Defendant’s decision to terminate his employment,

resulting in its disparate treatment of Plaintiff.



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22.    Further, and in the alternative, Plaintiff pleads that he suffers from a physical impairment

that is substantially limiting only because of the attitudes of others, including Defendant, toward

the impairment.

23.    Further, and in the alternative, Plaintiff pleads that he may not suffer from an impairment

that limits a major life activity at all, but is “regarded as” suffering from a substantially limiting

impairment, as that term of art is defined by the ADA.

24.    Further, and in the alternative, Plaintiff pleads that Defendant utilized qualification

standards, employment tests or other selection criteria, that serve to screen out or tend to screen

out an individual with a disability or a class of individuals with disabilities and that said standards,

tests, and other selection criteria are inconsistent with business necessity. The aforementioned

discriminatory labor and employment law practices result in a disparate impact upon Plaintiff and

similarly situated individuals, in genere.

                                 V. COUNT II
              VIOLATIONS OF THE FAMILY AND MEDICAL LEAVE ACT

25.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

26.    Plaintiff was an eligible employee under the definitional terms of the Family and Medical

Leave Act, 29 U.S.C. § 2611(a)(i)(ii).

27.    Plaintiff requested leave from Defendant, his employer, with whom he had been employed

for at least twelve months pursuant to the requirements of 29 U.S.C.A § 2611(2)(i). Plaintiff had

at least 1,250 hours of service with the Defendants during his last full year of employment.

28.    Defendant is engaged in an industry affecting commerce and employs fifty (50) or more

employees for each working day during each of the twenty (20) or more calendar work weeks in

the current or proceeding calendar year, pursuant to 29 U.S.C.A § 2611(4)(A)(i).




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29.    Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a total of

twelve (12) work weeks of leave on an intermittent or block basis.

30.    Plaintiff alleges Defendant’s unlawful actions in taking adverse actions against Plaintiff

for requesting and/or taking leave for his own serious health condition, that made Plaintiff unable

to perform the essential functions of his job, violates the Family and Medical Leave Act, justifying

an award, inter alia, of back pay, front pay, interest, benefits, special damages, expenses,

compensatory damages, liquidated damages, and punitive damages against Defendant.

31.    Plaintiff alleges Defendant’s unlawful actions in taking an adverse action against him for

requesting and taking leave to care for himself violate the Family and Medical Leave Act,

justifying an award, inter alia, of back pay, front pay, interest, benefits, special damages, expenses,

compensatory damages, liquidated damages, and punitive damages against Defendants.

                           VI. COUNT III
                        VIOLATIONS OF THE
      EMPLOYMENT RETIREMENT INCOME SECURITY ACT OF 1974 “ERISA”

32.    Plaintiff was a participant in, and beneficiary of, employee benefit plans sponsored by

Defendant which are subject to ERISA.

33.    At all relevant times Defendant acted as sponsor and administrator or co-administrator of

the ERISA plans.

34.    Defendant violated ERISA by interfering with Plaintiff’s employment by discriminating

against Plaintiff and/or by terminating him in retaliation for exercising his rights, with the intent

to interfere with the attainment of Plaintiff’s entitled ERISA rights.

35.    At all times Defendant acted as the administrator and/or co-administrator of the ERISA

plans. Defendant made representations to Plaintiff regarding his rights to benefits and rights under

ERISA plans. Defendant by virtue of its position and conduct had fiduciary obligations imposed




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upon it under ERISA, which it violated by conduct as described in the previous paragraphs.

                                         VII. DAMAGES

36.    Plaintiff pleads that Defendant, and its agents, employees and representatives, have caused

Plaintiff grievous harm and damages. As a direct and proximate result of their violations of state

and federal law, Defendant has caused Plaintiff to suffer lost past and future wages. Plaintiff is

entitled to pecuniary damages for lost past and future wages to be determined at inquest.

37.    Plaintiff pleads that Defendant has caused him to suffer acute mental anguish including,

but not limited to, extreme emotional distress and mental pain, intense feelings of depression, low

self-esteem, humiliation, belittlement, shame, nausea, loss of sleep and appetite. Plaintiff will, in

all likelihood and for the balance of his life, continue to suffer mental anguish. As such, Plaintiff

is entitled to compensatory damages for future pecuniary losses, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary losses.

38.    Plaintiff pleads that Defendant violated Plaintiff’s civil rights with malice or reckless

indifference to his federally protected rights. As such, Plaintiff is entitled to punitive damages in

an amount to be determined at inquest and at the maximum rate permitted by law.

39.    Plaintiff was forced to secure the undersigned counsel to protect his civil rights and,

therefore, requests an award of attorney’s fees.

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon final trial on the merits,

he recover judgment against Defendant, said judgment entitling Plaintiff to:

       1.      Compensation for all reasonable damages suffered by Plaintiff, including, but not
               limited to, past and future wages and other compensation, in an amount to be
               determined upon inquest;

       2.      Compensation for compensatory and punitive damages, in an amount to be
               determined upon inquest;

       3.      Pre-judgment and post-judgment interest, at the maximum rate permitted by law;



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4.    All costs of court expended in this lawsuit;

5.    Reasonable and necessary attorney’s fees;

6.    A mandatory injunction reinstating Plaintiff’s employment and employment
      benefits, retroactive to fees retroactive to the date of Plaintiff’s termination;

7.    A mandatory injunction forbidding Defendant from violating rights secured by the
      Americans With Disabilities Act of 1990;

8.    A mandatory injunction forbidding Defendant from violating rights secured by the
      Family and Medical Leave Act; and

9.    Such other and further legal relief, either at law or equity, to which Plaintiff may
      be justly entitled.

                                     Respectfully submitted,

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                            Demand for Jury Trial

     Plaintiff hereby demands trial by jury pursuant to Fed. R. Civ. P. 38(b).




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